

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS





NO. WR-25,282-22






MICHAEL WAYNE BOHANNAN, Relator


v.


 STUART JENKINS, DIRECTOR, TEXAS DEPARTMENT OF CRIMINAL JUSTICE,
PAROLE DIVISION, Respondent






ON APPLICATION FOR A WRIT OF MANDAMUS

CAUSE NOS. 201732D &amp; 222921J 

IN CRIMINAL DISTRICT COURT NUMBER ONE

FROM TARRANT COUNTY





	Per curiam.


O R D E R




	Relator has filed a motion for leave to file a writ of mandamus pursuant to the original
jurisdiction of this Court. In it, he contends that he has not been given a timely preliminary
revocation hearing.  

	 In these circumstances, additional facts are needed. The Respondent is ordered to file a
response stating whether Relator is being detained on a pre-revocation warrant and, if so, whether
Relator has been given a preliminary revocation hearing. If Relator has not been given a hearing, the
Respondent shall state why no hearing has been held. Ex parte Bohannan, No. AP-76,363, 2011 Tex.
Crim. App. LEXIS 618 (Tex. Crim. App. May 11, 2011). This application for leave to file a writ of
mandamus shall be held in abeyance until the Respondent has submitted the appropriate response.
Such response shall be submitted within 10 days of the date of this order.



Filed: June 8, 2011

Do not publish	


